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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF RHODE ISLAND


 Mary Seguin

       v.                                       Case No. 13-cv-12-SJM-LM
                                                Opinion No. 2014 DNH 123
 Textron, Inc., et al.1


                                  O R D E R


       This court granted plaintiff fourteen days to show cause for

 failing to serve the complaint on each defendant named in these

 consolidated actions.      See Order (doc. no. 198).       Plaintiff has

 not responded to that order.

       For reasons stated in that Order (doc. no. 198) and herein,

 all claims asserted in Seguin v. Suttell, No. 13-cv-095-JNL,

 against defendants Providence Police Department Chief Hugh T.

 Clements, Gero Meyersiek, and Rhode Island State Police Colonel

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           Defendants named in the First Amended Complaints in
 these consolidated cases are: Textron, Inc.; Adler, Pollock &
 Sheehan, P.C.; Estate of Gilbert T. Rocha; McIntyre Tate, LLP;
 Lynch, Lynch & Friel, P.C.; Family Court guardian ad litem and
 Attorney Patricia A. Murray-Raposa; Dugan & Grady Law Assocs.;
 Providence Police Department Chief Hugh T. Clements, Jr.; Gero
 Meyersiek; Sophia Meyersiek a/k/a Sophia Karvunis; the Rhode
 Island Supreme Court, Family Court, Attorney General’s Office,
 and Child Support Office (“CSO”); Rhode Island Supreme Court
 Chief Justice Paul Suttell, Governor Lincoln D. Chafee, Health
 and Human Services Secretary Steven M. Constantino, CSO Director
 Sharon A. Santilli, CSO Attorney Priscilla Glucksman, and Family
 Court Chief Judge Haiganush Bedrosian; Rhode Island Family Court
 Associate Judges John E. McCann III, Stephen J. Capineri, and
 Michael B. Forte; Rhode Island Family Court mediator and guardian
 ad litem Lori Giarrusso and Attorney General Peter Kilmartin;
 former Rhode Island Family Court Judge Jeremiah Jeremiah; Rhode
 Island Family Court Judge Kathleen Voccola; and Rhode Island
 State Police Colonel Steven G. O’Donnell.
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 Steven G. O’Donnell, are dismissed without prejudice; and all

 claims asserted against Peter Kilmartin and the Office of the

 Rhode Island Attorney General, the Rhode Island Supreme Court,

 Priscilla Glucksman, the Rhode Island Child Support Office, the

 Rhode Island Family Court, Dugan & Grady Law Associates, former

 Family Court Judge Jeremiah, Lynch Lynch & Friel P.C., Gero

 Meyersiek, Sophia Meyersiek a/k/a Sophia Karvunis, Patricia

 Murray-Raposa, and Family Court Judge Voccola in the First

 Amended Complaint (doc. no. 66) in Seguin v. Textron, No. 13-

 cv—12-SJM, are dismissed without prejudice.          All other claims in

 these consolidated cases are dismissed with prejudice, pursuant

 to the order granting defendants’ motions to dismiss.            See Order

 (doc. no. 198).

       The permanent filing restriction imposed by this court, see

 Order (doc. no. 199), and the order sealing certain records, see

 Order (doc. no. 196), shall both remain in full force and effect

 under the terms set forth in those orders.          The clerk is directed

 to enter judgment and close the case.



       SO ORDERED.


                                     ____________________________
                                     Steven J. McAuliffe
                                     United States District Judge

 June 2, 2014



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 SJM:nmd




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